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                       UNITED STATES BANKRUPTCY COURT
                   DISTRICT OF SOUTH CAROLINA (CHARLESTON)

________________________________
IN RE:                           )
                                 )
JACQUELINE ELIZABETH ARD and )             Case No. 24-03611-jd
TERRY FRANK NICOLA               )         Chapter 13
       Debtors.                  )
________________________________ )
     CREDITOR’S OPPOSITION IN RESPONSE TO DEBTORS’ MOTION FOR
         DAMAGES (DOCKET ENTRY NO. 77) FILED JANUARY 10th, 2025

      NOW COMES the Creditor, Estate at Westbury Owners Association, Inc., (hereinafter

“EAW”) by and through its counsel, who hereby files its Opposition in Response to Debtors’

Motion for Damages (Docket Entry No. 77) Filed January 10th, 2025, as follows:

      1. Debtors filed the above-referenced Chapter 13 case pro se on October 4th, 2024.

      2. The docket reflects that the matrix information uploaded to the case by the pro se

         Debtors on October 4th, 2024 (docket entry no.8, (9 pages), docket entry no 9, (1

         page)) fails to include and/or notice EAW as a creditor in the matter.

      3. After the case was dismissed for failure to file information timely on November 21st,

         2024 and the case administratively terminated on December 9th, 2024, the Debtors

         filed a motion for damages as to EAW on January 10th, 2025 referencing several

         alleged instances whereby a creditor would be in violation of the automatic stay,

         provided that the creditor receives notice.

      4. While Debtors’ matrix documents referenced above, filed concurrently with the

         case, does name and specifically references notice to collection counsel to EAW,

         Evan Bromley, who was handling the foreclosure of Debtors’ property located at

         EAW, it did not provide appropriate or proper notice to EAW itself, and as such,
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        EAW was not aware of the stay in the initial instance.

     5. Debtors’ motion further fails to name EAW as the party who violated the stay, but

        rather specifically names the EAW board members, individually, and Attorney Evan

        Bromley, who did not violate the stay but instead correctly took prompt affirmative

        action to terminate the pending collection action, to ensure that the stay was not

        violated as a result of same. Pursuant to applicable state law, codified as S.C. Ann.

        Code 33-36-660, board members of corporations not for profit are immune from

        suits arising from the conduct of the affairs of the corporation, unless conduct

        amounts to wilful, wanton, or gross negligence. Id.

     6. While a creditor who knowingly and deliberately takes action against a debtor’s

        property or attempts to collect a debt, despite being aware that the debtor has filed

        for bankruptcy and is protected by the automatic stay provision, is in violation of the

        automatic stay, here, it is unclear due to the Debtors’ omission of EAW from its

        initial creditor matrix whether EAW properly received notice of the filing such that

        the Debtors have met their burden of proof regarding EAW’s knowledge of the

        filing. And though EAW does appear in the creditor label matrix, it is unclear when

        it was added by Debtors as a creditor in the action for notification purposes.

     7. Additionally, after a review of Beaufort County tax assessor and property tax

        records, it does not appear that the vehicle in question, a 2020 RAM Pro Master

        1500 Commercial Van, is registered to Ms. Ard, who repeatedly avers in her motion

        that the taking of “her vehicle” triggered the stay violation provisisions, such that

        EAW’s actions with regard to the property would be in violation of the automatic

        stay. In fact, on Ms. Ard’s schedules A/B filed with the Court, it appears that she
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        may own this property jointly with a third party.

     8. Regardless of the above, when general counsel to EAW was made aware of a tow

        action as to Ms. Ard’s alleged vehicle on or around November 11th, 2024, initiated

        by EAW, after confirming that Ms. Ard was in fact in a pending bankruptcy, EAW

        promptly returned the vehicle to Ms. Ard on the morning of November 14th, 2024

        and paid all costs associated with its removal, storage and towing, at no expense to

        Ms. Ard. After being notified of the bankruptcy, EAW took no further action against

        the purported personal and/or real property of Ms. Ard until such time as the case

        was dismissed.

     9. Additionally, on November 14th, 2024, general counsel spoke with Ms. Ard by

        telephone and requested that she provide confirmation that notice was sent to EAW

        of the bankruptcy filing, and further emailed Ms. Ard to provide her with the email

        address and address of EAW generally for notice purposes going forward. See

        attached hereto as Exhibit A and incorporated herewith.

     10. To date, Ms. Ard has not provided any documentation to the undersigned evidencing

        that EAW was originally properly provided notice of the bankruptcy filing at any

        time, prior to that call or after the fact. Further, despite having knowledge of the

        email address and the notice address provided to her by email by the undersigned as

        referenced by the Exhibit hereto, the Certificate of Service on the motion filed fails

        to incorporate the proper address of EAW and/or electronically notify counsel to

        EAW of the motion filed that EAW now submits this filing in response to same.

     11. Given the above, even if the Debtor is able to show that the vehicle is owned is some

        capacity by her personally, despite having no registration information with Beaufort
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          County available on file, EAW respectfully shows to this Honorable Court that it did

          not commit a willful violation of the automatic stay and prays that the Court dismiss

          the motion for damages filed by Debtors on January 10th, 2025, given not only that

          no stay violation occurred due to lack of notice, but that even if said violation

          occurred, it was not willful.

      12. Further, due to the fact that the Debtors were dismissed on November 21st, 2024, the

          case was administratively terminated on December 9th, 2024, and EAW did not

          receive notice of the motion filed by Debtors on January 10th, 2025 despite

          communicating all service information for EAW electronically and by regular mail

          to Debtors in this case, and in spite of same, EAW has timely and properly complied

          with all applicable law and local rules required by this Court to respond to Debtors

          promptly despite not receiving proper notice, an action that is arguably wilful on

          behalf of Debtors who have been dismissed from the instant case.

      WHEREFORE, the Debtor requests this Honorable Court grant this Opposition in

response and deny the Motion for Damages filed by Debtors with prejudice, and for any such

further relief as this Honorable Court deems just and proper.

                                                 Respectfully Submitted,
                                                 Estate at Westbury Owners Association, Inc.
                                                 By its counsel,

Dated: 1/24/2025                                 /s/ Julie A. Franklin
                                                 Julie A. Franklin, Esq. SC Fed Id: 13933
                                                 Post Office Drawer 2976
                                                 Bluffton, SC 29910
                                                 (706) 452-1303
                                                  jfranklinlegal@gmail.com
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JACQUELINE ELIZABETH ARD and )                                Case No. 24-03611-jd
TERRY FRANK NICOLA               )                            Chapter 13
       Debtors.                  )
________________________________ )


                               CERTIFICATE OF SERVICE

      I, Julie A. Franklin, state that on January 24th, 2025, I electronically filed the foregoing
document with the United States Bankruptcy Court for the District of South Carolina
(Charleston) on behalf the Creditor, Estate at Westbury Owners Association, Inc., using the
CM/ECF System. I served the foregoing document on the following CM/ECF participants:

James M. Wyman
US Trustee’s Office

I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed
with the Court on the following non CM/ECF participants:


                                     Jacqueline Elizabeth Ard
                                        239 Beach City Rd
                                            Unit 3218
                                      Hilton Head, SC 29926

                                        Terry Frank Nicola
                                      663 William Hilton Pky
                                            Unit 4408
                                      Hilton Head, SC 29928

                                                   Respectfully Submitted,
                                                   Estate at Westbury Owners Association, Inc.
                                                   By its counsel,

 Dated: 1/24/2025                                  /s/ Julie A. Franklin
                                                   Julie A. Franklin, Esq. SC Fed Id: 13933
                                                   Post Office Drawer 2976
                                                   Bluffton, SC 29910
                                                   (706) 452-1303
                                                    jfranklinlegal@gmail.com
